Case 15-01145             Doc 7739      Filed 01/14/18 Entered 01/14/18 22:16:30            Desc Main
                                        Document      Page 1 of 12


                   IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

    In re:                                                 Chapter 11

    CAESARS ENTERTAINMENT                                  Case No. 15-01145 (ABG)
    OPERATING COMPANY, INC., et al.,
                                                           Jointly Administered
                             Debtors.

                            EARL OF SANDWICH’S OBJECTION TO
                        WHITEBOX’S MOTION FOR PROTECTIVE ORDER

             Earl of Sandwich (Atlantic City), LLC (“Earl”) objects to the motion for a protective order

filed by Whitebox Advisors LLC (“Whitebox”) on January 12, 2018 [ECF No. 7732], and states:

                                             BACKGROUND

             1.     In its responses and objections to Earl’s requests for production, dated December

18, 2017, Whitebox conditioned production of all documents (confidential and non-confidential)

on Earl’s stipulating to a protective order. After a meet-and-confer held the next day, Whitebox

agreed to commence producing non-confidential documents, and confidential documents after Earl

and Whitebox agreed to terms of a protective order, provided Earl agreed not to disclose documents

marked “Confidential” pending entry of the same, conditions to which Earl agreed (not agreeing

would have exposed Earl to sanction risk, under Rule 26(c)(3), had Whitebox’s production actually

included documents eligible for protection). Whitebox thereafter produced 362 pages, marking all

but 40 (89%) Confidential. Earl does not believe that any of Whitebox’s production constitutes

confidential commercial information, under Rule 26(c)(1)(G), or 11 U.S.C. § 107(b) or Rule 9018.1


1
         The entirety of Whitebox’s Confidential production is comprised of (a) documents that are already
public (Exhibits A-B, D to the Declaration of Bryan Seyfried, annexed to Whitebox’s Transfer of Claim);
(b) e-mails exchanged between Whitebox and Cowen Special Investments LLC (“Cowen”) from January
12 to 18, 2017; (c) the draft claim transfer agreement Cowen sent to Earl long before the start of this
litigation, which agreement’s choice of law clause Whitebox states governs this proceeding and forms a
part of the alleged Earl-Cowen agreement, even as Whitebox ignores that agreement’s New York forum
selection clause; (d) the Assignment and Release Agreement between Whitebox and Cowen, dated June 19,
2017 (“A&R Agreement”), upon which this litigation is premised and as to which neither Whitebox nor
Cowen has any reasonable expectation of privacy; and (e) 10 pages of Bloomberg messages exchanged
Case 15-01145          Doc 7739       Filed 01/14/18 Entered 01/14/18 22:16:30                 Desc Main
                                      Document      Page 2 of 12


        2.      Cowen initially refused to produce any documents in response to Earl’s document

subpoena pending entry of a protective order, not even non-confidential documents, even though

Cowen agreed to produce documents in its responses and objections, served December 14, 2017.

        3.      None of Earl’s production, made December 8, 2017, with two small supplemental

productions made December 14, 2017 and January 5, 2018, has been designated as Confidential.

        4.      At the January 3, 2018 hearing on Prime Clerk LLC’s motion for a protective order,

Earl stated that Whitebox submitted the prior, proposed stipulated protective order to the Court

(Tr. at 12:16-20, annexed hereto as Exhibit 1), and the Court stated “It is hard for me, frankly, to

imagine that there would be good cause here [under Rule 26(c)(1)]. I just can’t see how anything

involved in this dispute would be in any way confidential,” but invited the person seeking

confidential treatment to “explain why” good cause exists “by motion” (id. at 14:14-24).

        5.      Earl advised Whitebox and Cowen of the Court’s statement the same day,

forwarding them a rough copy of the transcript provided by Debtors’ counsel. Earl also advised

Whitebox to move for a protective order if it was so inclined, and asked Cowen to promptly

produce its non-confidential documents, as well as documents it believed were Confidential on

substantially the same terms Whitebox agreed to produce said documents. Cowen refused, forcing

Earl to move to compel on January 10, 2018 (No. 1:18-mc-14-RJS, S.D.N.Y.). Cowen produced

documents two days later on those same terms, marking 100% of its production Confidential.2




between Whitebox and Cowen between January 17, 2017 and April 26, 2017. Earl and Whitebox have
already conferred concerning the propriety of Whitebox’s designations. Whitebox refused to de-designate
any of the foregoing, on the ground it could result in public disclosure as to the manner in which it conducts
business.
2
        Cowen’s production is comprised entirely of e-mails and Bloomberg messages between it and Earl
or Whitebox concerning the alleged Earl trade, and a draft and markup of the claim transfer agreement
Cowen prepared and sent to Earl. Most of the communications produced have already been publicly filed.
Earl disputes the propriety of Cowen’s designation as to all documents produced.

                                                      2
Case 15-01145        Doc 7739      Filed 01/14/18 Entered 01/14/18 22:16:30             Desc Main
                                   Document      Page 3 of 12


                                          ARGUMENT

I.     WHITEBOX HAS NOT CARRIED ITS BURDEN UNDER RULE 26

       6.      Under Rule 26(c), the Court “has the power to issue a protective order only upon a

showing of good cause.” Jepson, Inc. v. Makita Elec. Works, Ltd., 30 F.3d 854, 858 (7th Cir. 1994).

The party seeking the order has the burden to show good cause. Wiggins v. Burge, 173 F.R.D.

226, 228 (N.D. Ill. 1997). In addition, the party seeking the “extraordinary relief” available under

section 107(b) and Rules 9018 must “provide the court with specific factual and legal authority

demonstrating that a particular document at issue is properly classified as ‘confidential.’” In re

Anthracite Capital, Inc., 492 B.R. 162, 171 (Bankr. S.D.N.Y. 2013) (emphasis added) (denying

relief on ground that movants “failed to allege with specificity what information is jeopardized”).

       7.      Whitebox’s sole argument for protection is that its “internal communications and

certain communications and agreements [with] Cowen … relate[] to the buying and selling of

securities and … would affect Whitebox’s ability to negotiate future claims trades,” citing In re

Lomas Fin. Corp., 1991 WL 21231 (S.D.N.Y. Feb. 11, 1991). (Motion ¶¶14-15; see also id. ¶8.)

       8.      Whitebox has not met its burden. First, Whitebox has not offered specific factual

or legal authority demonstrating a particular document is commercial information, as required by

Anthracite, instead arguing the contested matter’s subject matter is itself cause to restrict public

access to substantially all documents produced to Earl. Second, Lomas is inapposite. In Lomas,

the creditors’ committee disclosed in a public filing key information from a plan outline the debtors

prepared and circulated with a legend stating it was confidential. On the debtors’ motion, the

Bankruptcy Court sealed the filing, on the ground that not doing so could disrupt the “quite active”

market for the debtors’ securities and claims. Id. at *1. The District Court affirmed, rejecting the

committee’s argument, based on In re Itel Corp., 17 B.R. 942, 944 (B.A.P. 9th Cir. 1982), that

commercial information in Rule 26(c) covers only information whose disclosure may give

competitors an unfair advantage. Lomas, 1991 WL 21231, at *2 (“That interpretation is too narrow.
                                              3
Case 15-01145        Doc 7739      Filed 01/14/18 Entered 01/14/18 22:16:30             Desc Main
                                   Document      Page 4 of 12


The same words ‘commercial information’ … include information related ‘to the buying and

selling of securities on the open market’”). Here, however, there is no “active” market for claims,

now that the claims register closed under Section VI.F.1 of the Debtors’ now-effective plan [ECF

No. 6334-2]. Moreover, Whitebox’s communications with Cowen and the A&R Agreement do

not relate to the sale of securities. Rather, they relate to the transfer of Cowen’s alleged right to

purchase Earl’s claim, which falls outside the scope of the definition of “security” in 11 U.S.C. §

101(49). Third, three years after Lomas, the Second Circuit defined “commercial information”

by reference to the very definition Lomas rejected. In re Orion Pictures Corp., 21 F.3d 24, 27 (2d

Cir. 1994) (citing Itel Corp., 17 B.R. at 944). The Itel/Orion definition of the term has been adopted

in this district. In re Handy Andy Home Imp. Ctrs., Inc., 199 B.R. 376, 381 (Bankr. N.D. Ill. 1996).

II.    THE PROPOSED ORDER ATTEMPTS TO SHIFT TO EARL THE BURDEN OF
       PROVING DOCUMENTS DESIGNATED CONFIDENTIAL QUALIFY AS SUCH

       9.      Whitebox’s proposed order, if entered, would inappropriately shift to Earl the

burden of proving documents Whitebox and Cowen designated as Confidential constitute

commercial information, should Earl wish to use those documents herein (e.g., in a summary

judgment motion, pretrial order, or pre-/post-trial briefing). The proposed order by its terms does

not permit sealing (Motion Ex. A, ¶7) or redaction, but instead would purport to permit provisional

sealing under Local District Rule 26.2(c). Local Bankruptcy Rule 5005-4.D, however, does not

permit provisional sealing, and requires a prior order permitting sealing or redaction with respect

to specified documents before Earl can file or submit a document under seal or with redactions.

Securing said order would, in turn, require Earl to file a motion in advance arguing that the

document(s) it seeks to seal or redact qualify as commercial information, which makes no sense

given that Earl does not believe any portion of Whitebox’s or Cowen’s production qualifies as

such. Absent said order, Earl would be precluded from publicly filing any portion of Whitebox’s

or Cowen’s “Confidential” production pursuant to Paragraph 5 of the proposed order.

                                                  4
Case 15-01145        Doc 7739      Filed 01/14/18 Entered 01/14/18 22:16:30             Desc Main
                                   Document      Page 5 of 12


                                          CONCLUSION

       Whitebox is likely correct that disclosure of documents designated Confidential would

affect its (and Cowen’s) ability to negotiate future claim trades. (Motion ¶15.) However, that is

not because anything in documents designated Confidential includes commercial information

(claim trade pricing information therein (which Whitebox has already publicly filed) is by now

roughly a year old, and its disclosure would not impact Cowen’s or Whitebox’s current or future

positions in the marketplace), but rather because potential bankruptcy claim sellers may not wish

to do business with Cowen or Whitebox if the A&R Agreement becomes a matter of public record.

Respectfully, that is not a basis for protection under Rule 26(c), or limiting public access to papers

under section 107(b) or Rules 9018. The motion should be denied.

Dated: January 14, 2018                               Respectfully submitted,

                                                      /s/ Jeffrey Chubak
                                                      Jeffrey Chubak (admitted pro hac vice)
                                                      STORCH AMINI PC
                                                      140 East 45th Street, 25th Floor
                                                      New York, New York 10017
                                                      Tel: (212) 497-8247
                                                      Fax: (212) 490-4208
                                                      jchubak@storchamini.com

                                                      - and -

                                                      Joseph D. Frank (IL No. 6216085)
                                                      FRANKGECKER LLP
                                                      325 North LaSalle Street, Suite 625
                                                      Chicago, Illinois 60654
                                                      Tel: (312) 276-1400
                                                      Fax: (312) 276-0035
                                                      jfrank@fgllp.com

                                                      Counsel to Earl of Sandwich (Atlantic City),
                                                      LLC




                                                  5
Case 15-01145   Doc 7739   Filed 01/14/18 Entered 01/14/18 22:16:30   Desc Main
                           Document      Page 6 of 12


                                 EXHIBIT 1

                            Jan. 3 Hr’g Tr. Excerpt
     Case 15-01145    Doc 7739   Filed 01/14/18 Entered 01/14/18 22:16:30   Desc Main
                                 Document      Page 7 of 12
                                                                               1

1                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
2                          EASTERN DIVISION
3
4      CAESARS ENTERTAINMENT OPERATING )
       COMPANY, INC., et al.,          )                 No. 15 B 01145
5                                      )                 Chicago, Illinois
                                       )                 9:30 a.m.
6                        Debtor.       )                 January 3, 2018
7
8                    TRANSCRIPT OF PROCEEDINGS BEFORE THE
                         HONORABLE A. BENJAMIN GOLDGAR
9
10
11     APPEARANCES:
12     For the Debtors:                         Mr. Scott Lerner;
13     For the Earl of Sandwich:                Mr. Joseph Frank;
14
15
16
17
18
19
20
21     Court Reporter:                          Amy Doolin, CSR, RPR
                                                U.S. Courthouse
22                                              219 South Dearborn
                                                Room 661
23                                              Chicago, IL 60604.
24
25
     Case 15-01145   Doc 7739   Filed 01/14/18 Entered 01/14/18 22:16:30   Desc Main
                                Document      Page 8 of 12
                                                                              12

1      you're always free to raise that objection.                    If you
2      do -- there's an argument that you don't have to do
3      this -- it seems to me that Rule 5.1 of the civil
4      rules would require you to give notice to the United
5      States that you are drawing into question the
6      constitutionality of a bankruptcy rule.                   Now, Rule
7      5.1 talks about statutes.             I don't know that this is
8      a statute.      But I'm going to require you to notify
9      the attorney general if you're going to raise a
10     jurisdictional argument that it seems to me draws
11     into question the constitutionality of 3002(e)(2).
12                         MR. FRANK:        Well --
13                         THE COURT:        But we're sort of getting
14     ahead of ourselves.
15                         MR. FRANK:        Yeah, we are.        We are.
16                         So, Your Honor, I appreciate your
17     ruling on the motion for protective order.                    And, you
18     know, just so Your Honor is clear, we did submit a
19     protective order motion, or rather, Whitebox did, to
20     the court.      I don't know whether that's been entered.
21                         THE COURT:        Well, I'll get to that in
22     a second.      So what I'd like to do then, consistent
23     with the ruling that I made today on the motion for
24     protective order, is get an order from you that you
25     can draw up that's consistent with my ruling which
     Case 15-01145   Doc 7739   Filed 01/14/18 Entered 01/14/18 22:16:30    Desc Main
                                Document      Page 9 of 12
                                                                                 13

1      would be granting the motion in part and denying it
2      in part and describing what's permitted and what's
3      not permitted.
4                          MR. LERNER:        If I may, Your Honor.
5                          THE COURT:        Yes.
6                          MR. LERNER:        The discovery here that
7      you permitted I think still is of marginal relevance.
8      And it seems to me that one way to proceed would be
9      to have discovery from Whitebox occur first, and then
10     if further discovery from Prime Clerk as to the
11     communications between Prime Clerk and Whitebox is
12     deemed insufficient, then we can go back and look for
13     communications to and from Whitebox.                 But these are
14     documents that Whitebox should have in its
15     possession.      Whitebox is a party to the dispute.
16     Prime Clerk is a third party.
17                         We certainly can provide documents if
18     there's some indicia that they're not complete or
19     that there is something to be gained here, but I
20     still view this discovery as awfully tangential to
21     the narrow issue in this case.
22                         THE COURT:        Not anymore, not now that
23     I've narrowed it.         And I don't think it's
24     particularly burdensome.            And I am not feeling real
25     kindly toward Prime Clerk these days anyway.                        So,
     Case 15-01145   Doc 7739   Filed 01/14/18 Entered 01/14/18 22:16:30   Desc Main
                                Document     Page 10 of 12
                                                                              14

1      even though I think I have the ability to order
2      discovery in the way you suggest, I don't usually do
3      that, and I don't see that any efficiencies are
4      really to be gained.           So, I will decline your
5      invitation.
6                          MR. LERNER:        Okay.
7                          THE COURT:        And you can go ahead.
8                          Now, I was provided with a proposed
9      stipulation and order.            It's a protective order.
10     This is a separate protective order matter between I
11     guess it's Whitebox and Earl of Sandwich.                   And what
12     I'm going to insist on since the proposed order -- I
13     have a couple problems with the proposed order.
14                         The first is it says "good cause
15     appearing."      Well, I don't see any good cause.                  And
16     if you're going to have me make a finding that
17     there's good cause, then I'm going to need a motion
18     that suggests there's good cause.                I'm not as a rule
19     a fan of protective orders.              It is hard for me,
20     frankly, to imagine that there would be good cause
21     here.    I just can't see how anything involved in this
22     dispute would be in any way confidential.                   But you
23     can explain why.         Okay?
24                         So I'd like this done by motion,
25     please.       I realize you're running up against sort of
     Case 15-01145   Doc 7739   Filed 01/14/18 Entered 01/14/18 22:16:30   Desc Main
                                Document     Page 11 of 12
                                                                              16

1                          THE COURT:        You can raise it in due
2      course.
3                          MR. FRANK:        We're making two different
4      jurisdictional arguments, but --
5                          THE COURT:        Well --
6                          MR. FRANK:        -- the one you're
7      suggesting, the one Your Honor is suggesting I also
8      understand, and it's intriguing.                I'm not sure it's
9      the hill we want to die on in this case, but I'll
10     talk to my client about it.
11                         THE COURT:        Well, I'll let you decide
12     where to die.
13                         MR. FRANK:        Thank you, Your Honor.
14                         (Which were all the proceedings had in
15                         the above-entitled cause, January 3,
16                         2018, 9:30 a.m.)
17 I, AMY B. DOOLIN, CSR, RPR, DO HEREBY CERTIFY
   THAT THE FOREGOING IS A TRUE AND ACCURATE
18 TRANSCRIPT OF PROCEEDINGS HAD IN THE ABOVE-
   ENTITLED CAUSE.
19
20
21
22
23
24
25
Case 15-01145        Doc 7739     Filed 01/14/18 Entered 01/14/18 22:16:30             Desc Main
                                  Document     Page 12 of 12


                                CERTIFICATE OF SERVICE

       I certify on January 14, 2018, a copy of the foregoing was filed electronically. Notice of

this filing will be sent to all parties who have requested notice by operation of the Court’s CM/ECF

system. Copies were also served by e-mail on Whitebox Advisors LLC and Cowen Special

Investments LLC at the following addresses:

 Counsel to Whitebox Advisors                      Counsel to Cowen Special Investments
 Aaron L. Hammer                                   Scott Balber
 Jack O’Connor                                     Steven Jacobs
 SUGAR FELSENTHAL GRAIS & HAMMER LLP               HERBERT SMITH FREEHILLS NEW YORK LLP
 ahammer@sfgh.com                                  scott.balber@hsf.com
 joconnor@sfgh.com                                 steven.jacobs@hsf.com
 - and -
 Douglas Mintz
 Ayanna Lewis-Gruss
 ORRICK, HERRINGTON & SUTCLIFFE, LLP
 dmintz@orrick.com
 alewisgruss@orrick.com

                                                   /s/ Jeffrey Chubak
